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 2
 3                     IN THE UNITED STATES DISTRICT COURT
 4                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 5
     UNITED STATES OF AMERICA,              )
 6                                          )    2:11-cr-00514-GEB
                    Plaintiff,              )
 7                                          )
              v.                            )    RELATED CASE ORDER
 8                                          )
     AHMED CHARTAEV, KHADZHIMURAD           )
 9   BABATOV aka Murad Babatov,             )
     NICHOLAS VOTAW, ANTON TKACHEV,         )
10   STANISLAV SARBER, HAKOB                )
     SERGOYAN, ROMAN MALAKHOV, ASHOT        )
11   ANDREUS, MAGOMED ABDUKHALIKOV,         )
     SERGEY SHCHIRSKIY, and ANDREY          )
12   KIM,                                   )
                                            )
13                 Defendants.              )
     ________________________________       )
14
     UNITED STATES OF AMERICA,              )
15                                          )    2:12-cr-00118-WBS
                    Plaintiff,              )
16                                          )
              v.                            )
17                                          )
     HURSHID HALDAROV, and                  )
18   KHZDZHIMURAD BABATOV aka Murad         )
     Babtov,                                )
19                                          )
                   Defendants.              )
20   ________________________________       )
21             On April 23, 2012, the United States of America filed a
22   “Notice of Related Cases” in which it states:
23             Both of [the above-referenced] cases . . . involve
               one of the same parties and are based on a similar
24             scheme. Both cases also involve similar questions
               of fact and law such that their assignment to the
25             same Judge is likely to effect a substantial
               savings   of   judicial    effort.   Given   these
26             circumstances, it would be appropriate for one
               judge to sit on both cases.
27
     (ECF No. 96, 3:4-9.)
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 1               Examination of the above-entitled actions reveals that they
 2   are related as defined by Local Rule 123(a). Further, “assignment of the
 3   actions to a single Judge is likely to effect a savings of judicial
 4   effort or other economies[.]” E.D. Cal. R. 123(c). Therefore, action
 5   2:12-cr-00118 is reassigned to the undersigned judge for all further
 6   proceedings, and the caption on the reassigned cases shall show the
 7   initials “GEB.”     Further, any date currently set in the reassigned case
 8   is VACATED. The Clerk shall make an appropriate adjustment in the
 9   assignment of criminal cases to compensate for this reassignment.
10               IT IS FURTHER ORDERED that a Status Conference is scheduled to
11   commence at 9:00 a.m. on June 15, 2012, in action 2:12-cr-00118.
12   Dated:    April 24, 2012
13
14                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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